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   8                              UNITED STATES DISTRICT COURT

   9                            SOUTHERN DISTRICT OF CALIFORNIA

  10
       UNITED STATES OF AMERICA,              )      Case No. 10CR4246-JM
  11                                          )
                          Plaintiff,          )
  12                v.                        )
                                              )      ORDER DENYING JOINT MOTION TO
  13                                                 TAKE RULE 15 DEPOSITIONS;
                                                     DENYING MOTION TO STAY
  14   BASAALY MOALIN et aI.,                 )
                                              )
  15                      Defendants.         )
                                              )
  16                                          )
                                              )
  17

  18         Defendants Basaaly Moalin, Mohamed Mohamed Mohamud, Issa Doreh and
  19   Ahmed Nasir Taalil Mohamud (collectively "Defendants"), pursuant to Federal Rule
  20   of Criminal Procedure 15, jointly move for leave to take depositions of eight foreign
  21   prospective defense witnesses in Somalia. The Government opposes the motion. For
  22   the reasons set forth below, the court denies the motion for Rule 15 depositions without
  23   prejudice to reconsidering a further request under Rule 15, or the parties reaching a
  24   stipulation for depositions to proceed, and denies the motion to stay.
  25                                     BACKGROUND
  26         The Second Superseding Indictment ("SSA"), filed on June 8, 2012, charges Five
  27   Counts: (1) Conspiracy to provide material support to terrorists, in violation of 18
  28   U.S.C. § 2339A (all Defendants); (2) Conspiracy to provide material support to a
       foreign terrorist organization, in violation of 18 U.S.C. § 2339B (all Defendants); (3)
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   1   Conspiracy to launder monetary instruments, in violation of 18 U.S.C. § 1956 (all
   2   Defendants); (4) Providing material support to terrorists, in violation of 18 U.S.C. §
   3   2339A (defendant Moalin only); and (5) Providing material support to foreign terrorist
   4   organization, in violation of 18 U.S.C. § 2339B (defendants Moalin, Mohamud, and
   5   Doreh only).
   6         Defendants propose taking the depositions of eight Somali nationals: Naji
   7   Mohammad, Farah Shidane, Abukar Dahir Mohamed, Sheik Abdur Rahman, Sharif
   8   Qorey, Dr. Bashir Ahmed Salad, Osman Isse Nor, and Hassan Mohamud Guled. "Each
   9   ofthese witnesses has agreed to be deposed in Mogadishu, Somalia." (Motion at p.2:5).
  10   "The eight prospective witnesses are all people to whom Mr. Moalin transferred money
  11   or who possess direct knowledge of how money that the defendants transferred to
  12   Somalia was spent." (Motion at p.2:13-14).
  13                                        DISCUSSION
  14         Rule 15 provides the mechanism for taking foreign depositions:
  15         (a) When Taken. Whenever due to exceptional circumstances of the case
             it IS in the interest ofjustice that the testImony of a prospective witness of
  16         a party be taken and preserved for use at trial, the court may upon motion
             ofsucb party and notice to the parties order that testimony of such witness
  17         be taken by deposition and that any designated book, paper, document,
             r!!cord, recording, or other material not privileged, be produced at the same
  18         time and place.
  19   "The district court retains broad discretion in granting a Rule 15(a) motion, and
  20   considers the particular circumstances of each case to determine whether the
  21   'exceptional circumstances' requirement has been satisfied." United States v. Omene,
  22   143 F.3d 1167, 1170 (9th Cir. 1998) (quoting United States v. Farfan-Carreon, 935 F.2d
  23   678, 679 (5th Cir.1991)).     The exceptional circumstances requirement of Rule 15
  24   means that "only in extraordinary cases will depositions be compelled." United States
  25   v. Dillman, 15 F.3d 384, 389 (5 th Cir. 1994). The burden of proof for Rule 15(a)
  26   depositi ons rests with the Defendants. United States v. Zuno-Arce, 44 F.3d 1420, 1424­
  27   25 (9th Cir. 1995).
  28         In considering whether to permit Rule 15 depositions, the court considers the

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  1   totality ofthe circumstances including, but not limited to, timeliness, the availability of
  2   the deponents for trial, whether the depositions are for purposes of discovery or for use
  3   at trial, the materiality and helpfulness of the proposed deposition testimony, and the
  4   safety ofUnited States officials whose safety might be compromised by traveling to the
  5   foreign country. See United States v. Olafson, 213 F.3d 435, 442 (9 th Cir. 2000); Zuno-
  6   Arce, 44 F.3d at 1424. Furthermore, Defendants must also show that the deposition
  7   procedures in the foreign country, as to reliability and trustworthiness, are compatible
  8   with fundamental issues of fairness. See Societe Nationale Industrielle Aerospoatiale
  9   v. United States Dist. Ct., S.D. Iowa, 482 U.S. 522 (1987). The court now turns to
 10   pertinent factors.
 11         Availability
 12         Defendants contend that the proposed deponents are unavailable because the
 13   United States does not maintain formal diplomatic presence in Somalia and the
 14   Transitional Federal Government controls only a small section ofMogadishu, and travel
 15   to the United States "is not regularly permitted, and is not feasible." (Motion at p.4: 11­
 16   14). Defendants make no particularized showing as whether any of the proposed
 17   deponents even applied for a visa. While conditions in Somalia are beyond challenging,
 18   Defendants make no evidentiary showing that a visa would be unavailable to them or
 19   that they took any measures to obtain a visa. Rather, in their reply papers Defendants
 20   argue that in 2011 Somali nationals faced a 66.8% refusal rate on visitor visa
 21   applications and that it would be unlikely for the proposed deponents to receive travel
 22   authorization. Defendants then cite anticipated travel costs as being an impediment to
 23   the average Somali to travel to the United States. Finally, counsel for Defendants
 24   acknowledge that procedures are in place for Somali nationals to obtain both visas and
 25   passport waivers and that such procedures are available on the Internet, (Fontier Decl.
 26   ~4), but suggest the statistical and financial concerns have rendered any travel prospects

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  1   futile. I
  2           As noted by the Government, one way to demonstrate unavailability is through
  3   affidavits. United States v. Drogoul, 1 F.3d 1546, 1553 (11 th Cir. 1993). At a minimum,
  4   a defendant must demonstrate "good faith efforts" to obtain the witness' presence at
  5   trial. Zuno-Arce, 44 F.3d at 1425. Defendants simply make no showing that the
  6   proposed deponents have applied for entry visas. While Defendants need not make a
  7   conclusive showing of unavailability, some showing is required.
  8           In sum, this factor does not favor granting the Rule 15 motion.
  9           Timeliness
 10           Defendants contend that this motion is timely because, in part, discovery is on­
 11   going, about 1,800 intercepted telephone calls were produced in discovery, the
 12   Government only provided transcripts to about 126 telephone calls, the Government has
 13   been on notice that Defendants would seek to take Rule 15 depositions, and Defendants
 14   moved for Rule 15 depositions at the earliest possible date. The court notes that the
 15   Government provided to defense counsel transcripts of the pertinent calls it has
 16   identified in 2011 at the latest and that the identities of some ifnot all ofthe persons on
 17   these calls were known to Defendants from the time the calls were made.
 18           Notwithstanding, Defendants first mentioned the prospect ofRule 15 depositions
 19   in late 2011 and again at a April 5, 2012 status hearing. This court then immediately
 20   referred the matter ofpossible depositions to Magistrate Judge Gallo even without the
 21   Defendants filing a motion for Rule 15 depositions. This court strongly counseled the
 22   parties that the matter of depositions would be managed by Magistrate Judge Gallo.
 23   Unfortunately the record demonstrates that Defendants never pursued this matter before
 24   Magistrate Judge Gallo and some 3 Y2 months later filed a Rule 15 motion to be heard
 25   in late August and in such a manner that were the depositions allowed the trial date
 26   would, as Defendants acknowledge, have to be continued yet again. In light of
 27
             I At oral argument, moving counsel represented that the proposed deponents have indicated an
 28   unwillingness to travel to the United States.

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   1   Defendants' longstanding knowledge about the interactions between the proposed
   2   deponents and themselves, such a request has not been timely brought.
   3           In sum, this factor does not favor granting the Rule 15 motion.
   4           MaterialityIHelpfulness
   5           On this factor, Defendant's strongest argument for the depositions going forward
   6   is that these deponents will provide exculpatory evidence to show that the monies
   7   provided by Defendants were not intended to assist any terrorist network or
   8 organization. (Fontier Decl. ~~ 4-38). While the proposed deponents do not provide
   9   any declarations regarding the topics of their anticipated testimony, the declaration of
  10   attorney Alice Fontier generally describes the anticipated testimony. The court briefly
  11   reviews the proposed testimony.2
  12           Najih Mohammed
  13           Defendants represent that a large number of the recorded telephone calls are
  14   between defendant Moalin and Mr. Mohammed, who operated a call center in Somalia.
  15   The anticipated testimony would reveal that defendant Moalin would call almost every
  16   morning to talk to family members. He would also provide testimony that defendant
  17   Moalin would speak with someone referred to as "Shiekalow" who, he believes, was in
  18   charge of security in the central region of Somalia.
  19           The court notes that this testimony is not particularly helpful to Defendants
  20   because the conversations have been produced to Defendants. Further, testimony that
  21   Mr. Mohamed overheard Moalin speaking to someone named "Shiekalow" does not
  22

  23            2 The court is mindful ofDefendants' vigorous argument that materiality, for purposes of Rule
  24   15 depositions, must be distinguished from considerations of admissibility such as reliability,
       credibility, and whether evidence is cumulative. It seems appropriate, however, to juxtapose some
       evidence proffered by the Government - such as the January 20, 2008 intercept of a conversation
  25   between defendant Moalin and "Sheikalow," (Cole DecL Exh.2), the accuracy and content of which
       was not disputed as of the filing of this motion - with the proffer from proposed deponents on the
  26   question of whether exceptional circumstances exist for the depositions to go forward under Rule 15.
       In that vein, if much ofwhat is proffered is undisputed (i.e. Somali tribal and cultural history) or is not
  27   inconsistent with the Government's theory of wrongdoing (i.e. financial support for worthy causes as
       well as for the alleged support of al-Shabaab), circumstances become less "exceptional" within the
  28   meaning of Rule 15.

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  1   materially advance the defense theory that Moalin did not speak with Aden Ayrow.
  2   Such proposed testimony may carry little weight.
  3          In sum, the court concludes that this testimony is not particularly helpful to
  4   Defendants.
  5          Farah Shidane, a/kla "Farah Yare"
  6          Defendants argue that Mr. Shidane is a member of the Ayr clan from the
  7   Gelgaduud region and has known Defendant Moalin for many years. (Fontier Decl.
  8 '11). Mr. Shidane will provide testimony "about the history and development of the
  9   local administration, his role in the administration, and his opposition to al-Shabaab.
 10   In addition he will state that he received money from Mr. Moalin because he was the
 11   treasurer ofthe development council" and that the monies received by Mr. Moalin were
 12   "used to build and maintain the Orphan Care Center, a school in Gurieel, and provided
 13   critical humanitarian aid during the drought." (Fontier Decl. ,12).3
 14          In response, the Government provides a proffer which, if true, substantially
 15   undermines the helpfulness of this evidence. Mr. Shidane is the uncharged co­
 16   conspirator No.1 as alleged in the SSA. Further, recorded conversations provide
 17   support for the Government's argument that many ofthe recorded statements with Mr.
 18   Shidane are inculpatory, not exculpatory. (Cole Decl. Exhs.15-18).
 19          In sum, the court concludes that this testimony may be helpful to Defendants.
 20          Sheik Abdul Rahman, a/klal "Geedow Qorow"
 21          Mr. Raham, current governor ofDhusamarreb and defendant Moalin' s brother-in­
 22   law, is anticipated to provide testimony regarding the Byes Foundation, Moalin's
 23   support for the Byes Foundation, and al-Shabaab's opposition to the development of
 24   schools and local Governments in Somalia. (Fontier Decl. '15). Mr. Rahman would
 25   also provide testimony about his opposition to al-Shabaab, the use of defendant
 26
 27          3 Defendants also represent that Mr. Shidane is able to provide background information and
      context on the political situation in Somalia. The court notes that there are many sources capable of
 28   providing background information and context to the political situation in Somalia.

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  1   Moalin's house by Ahlu Suna Wa Jameea, not al-Shabaab, and an individual named
  2   "Sheikalow" who is not Aden Ayrow.
  3         The Government responds that the proffered testimony that Ayrow is not
  4   "Sheikalow" is inherently unreliable because, for the reasons discussed with respect to
  5 Hassan Mohamud Guled, the recorded conversations undermine this proffer. Further,
  6   the Government concedes that Moalin was an Ilyes supporter. The court notes that the
  7   use ofMoalin's house by Ahlu Suna does not necessarily mean that al-Shabaab did not
  8   also use the Mogadishu home of defendant Moalin.
  9         In sum, this evidence provides some support for Defendants' theories ofthe case
 10   and is potentially helpful to Defendants.
 11         Sharif Qorey
 12         Defendants contend that there are recorded conversations between Mr. Qorey and
 13   defendant Moalin, that Moalin permitted members of Ahlu Suna to use his home in
 14   Mogadishu and that he remembers "Sheikalow." (Fontier Decl. ~27, 28).
 15         The Government responds that Defendants already have the recorded
 16   conversations, the information regarding "Sheikalow" as someone other than Aden
 17   Ayrow has been substantially undermined, and the SSA alleges that Ayrow used the
 18   house in Mogadishu, not the compound Moalin was building (with Qorey's help) in
 19   Guriceel.
 20         In sum, the court concludes that this information is not particularly helpful to
 21   Defendants.
 22         Dr. Ashir Ahmed Salad
 23         Defendants represent that Dr. Salad, the head Somali Iman, has taught at the
 24   Islamic International University where he met Defendant Mohamud, and that he has
 25   stayed in touch with Mohamud and other members of the North American Islamic
 26   Council ("NAIC"). He would also provide testimony that the goal ofNAIC is to unify
 27   Somali Imans under a moderate peaceful teaching. He would also testify that al-
 28   Shabaab websites specifically state that NAIC, and the Counsel of Somali Religious

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   1   Schools, are against al Shabaab. (Fontier Decl. ~~29-31).
   2          The court notes the marginal relevance of a Somali Iman providing testimony
   3   about NAIC, a North American organization. The court further notes that there are
   4   several different means ofintroducing statements encountered on al-Shabaab websites.
   5          In sum, the court concludes that this testimony is only marginally helpful to
   6   Defendants.
   7          Hassan Mohamud Guled, a/kla "Sheikalow"
   8          Defendants represent that Mr. Guled was a police commISSIOner of the
   9   Gelguduud region during the relevant time period and that he is the person identified
  10   on the telephone calls as "Sheikalow." He would also provide testimony that he had
  11   used defendant's house on more than one occasion for administrative purposes. This
  12   testimony would undermine that Government's theory that defendant Moalin
  13   communicated with the leader of al-Shabaab, Aden Ayrow (alk/a Sheikalow).4
  14          In large part, the Government responds that the proposed testimony that Mr.
  15   Guled is "Sheikalow," meaning Aden Ayrow, is simply not credible in light of the
  16   recorded conversations between "Sheikalow" and Moalin. The recorded conversations
  17   identified by the Government tend to support this argument. Given that the name
  18   "Sheikalow" may be applied to hundreds ifnot thousands of individuals it is not in that
  19   sense an uncommon nickname.
  20          The court concludes that the identity of "Sheikalow" is a material issue in the
  21   case and that the commonness ofthe name may raise challenges for the parties. On this
  22   motion, it is not the role of the court to weigh credibility determinations of potential
  23   witnesses. While the translated conversations themselves indicate that the "Sheikalow"
  24   taking part in the conversation is Aden Ayrow, this evidence may be countered by
  25   Defendants.
  26          In sum, the court concludes that this testimony is potentially helpful to
  27
               4 According to Defendants, Sheikalow is a nickname that means "ofthe Sheikal tribe." (Fonder
  28   Decl. ~38).

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   1   Defendants.
   2         Safety of United States Officials and Defense Counsel
   3         The court must consider whether the safety ofUnited States officials and defense
   4   counsel would be compromised by travel to a foreign location. Omene, 143 F.3d at
   5   1169-70; United States v. Olafson, 213 F.3d 435, 442 (9th Cir. 2000). In Olafson the
   6   Ninth Circuit concluded that the district court properly considered and denied Rule 15
   7   depositions in Mexico because, in part, conditions in Mexico were unsafe for American
   8   prosecutors. Id.
   9         Here, the dangers of travel to Somalia are acute and present substantial risks to
  10   both United States personnel and defense counsel. The State Department has issued a
  11   warning to U.S. citizens to avoid all travel to Somalia. The travel warning, dated June
  12   15,2012, identifies the risk ofkidnaping, murder, illegal roadblocks, banditry and other
  13   violent incidents. (Jacobson Dec!. ~4). The travel warning identifies numerous recent
  14   acts of violence. While Defendants propose taking the depositions adjacent to the
  15   airport in Mogadishu, the airport has been a particular target of terrorist attacks. The
  16   terrorist attacks at the airport include a mortar attack on Congressman Payne in April
  17   2009 and an al-Shabaab suicide bombing in September 2010. (Cole Decl. ~~19, 20).
  18   Furthermore, Mogadishu has a history of recent extreme violence. (Cole Decl. ~23).
  19   Finally, the court notes that there is no State Department presence to assist U.S.
 20    personnel in case of an emergency.
 21          While Defendants argue that the SKA facility adjacent to the airport is secure and
 22    protected by African Union peacekeepers, this argument does not take into
 23    consideration the recent and on-going violent history in Somalia. For this court to
 24    order, encourage, or condone United States prosecutors traveling to a lawless and
 25    proven violent state - with advance notice to those who might contemplate harming
 26    these individuals - would be reckless and indefensible.
 27          In sum, this factor weighs strongly and, in and of itself, decisively against Rule
 28    15 depositions going forward in Somalia.

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 1          Miscellaneous Factors
 2          The court also considers whether the deposition procedures in the foreign
 3   country, as to reliability and trustworthiness, are compatible with fundamental issues
 4   of fairness.     See Societe Nationale Industrielle Aerospoatiale, 482 U.S. 522.
 5   Defendants contend that an oath will be administered by a Somali magistrate and
 6   subject to cross-examination by Government counsel. There is no evidence before the
 7   court that the methods proposed by Defendants are either reliable or trustworthy. There
 8   is no showing that an oath in Somali has the same meaning as an oath in this country
 9   (or one subject to the Hague convention). There is no showing that an oath in Somalia
10   is subject to penalties of perjury and judicial process like those available in the United
11   States. In fact, due to civil unrest in Somalia, there does not appear to be any significant
12   functioning executive or judicial process in Somalia. s                  As noted on the State
13   Department's website, "There is no organized system ofcriminal justice in Somalia, nor
14   is there any recognized or established authority to administer a uniform application of
15   due process. Enforcement of criminal law is, therefore, haphazard to nonexistent."
16   (Jacobson Decl. ~10). In sum, this factor of reliability and trustworthiness of the
17   proposed depositions strongly disfavors Rule 15 depositions in Somalia.
18          Considering all relevant factors and based upon the present motion, Defendants
19   fail to establish extraordinary circumstances warranting Rule 15 depositions. The
20   motion for Rule 15 depositions is denied without prejudice subject to a further
21   showing. 6
22

23           5 Without a functioning government, the court notes that even simple tasks such as establishing
     the identity of a witness by means of official government documentation presents a challenge.
24
             6 While the core and thrust ofthis motion is for depositions to proceed in Somalia, Defendants
25   have intermittently and casually suggested in their papers alternative considerations might be given to
     depositions through written interrogatories or videoconferencing. (Reply at pp. 20-21). At the time
26   oforal argument, alternatives were expanded to include taking Rule 15 depositions at other sites in the
     region. Accordingly, the court has, once again, ordered the parties to immediately appear before
27   Magistrate Judge Gallo for management of further Rule 15 discussions between the parties including
     any arrangements that may be agreed upon by the parties. Again, the court indicates its willingness to
28   consider, and even adopt, any agreements the parties may reach concerning Rule 15 depositions or other

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 1                                     THE MOTION TO STAY
 2          Defendant Mohamud moves to stay the action pending the taking of Rule 15
 3   depositions. As the court has denied the motion for Rule 15 depositions under the
 4   pending request, there is no basis to stay the action. As articulated by the court at the
 5   August 22,2012 hearing, a continuance ofpending pretrial and trial dates is preferable
 6   to an open-ended stay of the action.
 7          IT IS SO ORDERED.
 8   DATED:       iurd~             ,2012
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10                                                   FF Y T. MILLER
                                                   Umted States DIstrIct Judge
11   cc:    All parties

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     discovery. To that end, this court is willing to entertain a reasonable continuance of all pending dates
26   to accommodate Rule 15 depositions that may be agreed upon or for other good cause shown. At the
     time ofthe August 22, 2012 status hearing, all Defendants requested a continuance ofall pending dates.
27   The Government did not oppose the request. To these ends, the parties have been requested to meet
     and confer on Rule 15 issues and the scheduling of new dates for status hearings, motions in limine
28   briefing and argument, and trial.

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